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          ZO.       "$am" informed Plaintiff that Defendant was calling for Toby Feiler.

          ZT.       Plaintiff stated clearly and emphatically that Defendant was placing calls to

  her telephone and that although Toby Feiler is her daughter who lives with her, Plaintiff

  wanted all calls to her telephone to cease.

          28.        "Sam" asked to speak to Plaintiffs daughter'

          Zg.        Plaintiff repeated her reque$t that Defendant stop calling her telephone

   number.

          30.        usam'n
                              replied: "We're going to call back later."

          31.        Defendant thereafter placed auto-dialed calls         to Plaintiff's   telephone

   number which calls continue.

          AZ. Defendant's ealls were made to Plaintiffs telephone on, among other
   dates: January 12, 18 (twice), 19 (twice),20 (twice),2016, after being requested to stop

   calling.

              39.    Defendant's calls originated from numbers 201-706-7409, 201'984-4609

   and 201-9 84-7678.



              3.4.   The Plaintiff never gave the Defendant her prior express permission to call

   her cell phone via the use of an automated telephone dialing system'

              35.   Plaintiff had no wish to be contacted on her cell phone via the use of an

   autodialer, and expressly directed Defendant to stop calling her cell number.

              36.   By placing auto-dialed calls to the Plaintiffs cell phone, the Defendant

   violated 47 USC Section 227(b')(Al(iii) which prohibits using any automated telephone
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 dialing system or an artificial prerecorded voice to any telephone number assigned to a

 cellular seruice when calling to the Plaintiff's cell phone.




                                  FrBST CAUSE     gFAqnON
                                   (Volations of ffre TCPA)

        31.     Plaintffi repeats, reiterates and incorporates the allegations contained in

 paragraphs numbered "1" through "36" herein with the same force and effect as if the

 same were set forth at length herein.

        38      According to the Telephone Consumer Protection Act 47 USC

 $227(bxA)(iii), any person within the United $tates or any person outside the United

 States, if the recipient is within the United States, is prohibited from using any automatic

 telephone dialing system or an artificial or prerecorded voice to any telephone number

 assigned to a cellular telephone service or any service for which the called party is

 charged for the call.

       3q   ,     ffith the autodialer calls to Plaintiffs telepfrsre mmrnencing on or about

 January 1, 2016 and continuing at a rate of up to twelye {12} tirnes thereafrer, *re

 Defendant violated various provisions of ste TCPA, induding hrt not limited to 47 USC

 s227(bXAXiii).

       tis.     The Defefidant, having   kn    inforrned that Plaintiff requested that no

 furfter calls be received, Defendant yyillfirlly violatsd the TCPAat least seyen {7} times,

       4l:..    Upon information and belief, Defendant has implemented a policy in
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 business practice which trains, instructs and/or sanctions employees and agents

exemplified by "$am" to ignore consumers' requests to cease calling their telephones.

         4L.    Defendant violated various provisions of ste TCPA, induding but not

limited to 47 USC $227{bXAXiii}.

                               p.EMANq F_gB TR|AL B.y JURY

         43,    Plaintiff hereby respectfully requests a trial by jury for all claims and issues

 in its Complaint to which it is or may be entitled to a jury trial.

                                        PRAYER FOR,RELIEF

         WHEREFORE, Plaintiff demands judgment from the Defendant as follows:

                A.     For actual damages provided and pursuant to 47 USC 5227;

                B.     For trebled damages to be awarded to the Plaintiff in accordance

with the TCPA, for each of the Defendant's willful or knowing violations of the TCPA.

                C.     For statutory damages provided and pursuant to 47 USC

 5227;

                D.     For attorneys'fees and costs provided and pursuant to 15 USC

                       $227;

                E.     A declaration that the Defendant's practices violated the TCPA;

                F.     For any such other and further reliel as well as further costs,

 expenses and disbursements of this action, as this Court may deem just and proper.
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Dated:         March 22,2016


                                     Respectfully submitted,


                                         sl"^roK*
                                     Eownno B. GElleR, Eso.(EG9763)
                                     EowRno B. cEttER, ESQ., P.c., oF couNSEL To
                                     M. Hnnvev REPHEN & nssoctnrEs, P.c.



                                     Attorney for the Plaintiff RIVKA FEILER


To:      Convergent Outsourcing, lnc.
         S00 SW 39th Street
         Renton, WA 98057-9004

         (Via Prescribed Seruice)

         Clerk of the Court,
         United States District Court, District of New Jersey
         Clarkson S, Fisher Building & U.S. Courthouse
         402 East $tate Street Room 2020
         Trenton, New Jersey 08608

         (Via Electronic Court Filing)
